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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 ESTATE OF CHRISTOPHER                                 )
 BROOK FISHBECK, et al.,                               )
                                                       )
                        Plaintiffs,                    )
                                                       )   Civil Action No. 1:18-cv-2248-CRC
        v.                                             )
                                                       )
 THE ISLAMIC REPUBLIC OF IRAN, et al.,                 )
                                                       )
                       Defendants                      )


      PLAINTIFFS' MOTION REGARDING SUBJECT MATTER JURISDICTION

        Pursuant to the Couti's Order of November 19, 2021 (ECF No. 75), Plaintiffs now submit

their Motion Regarding Subject Matter Jurisdiction. Specifically, this Motion and the

accompanying evidence establish two elements of the Couti's subject matter jurisdiction. First,

The Islamic Republic of Iran was a designated state sponsor of terrorism at the time the subject

terror attacks occurred and at the time this lawsuit was filed. 28 U.S.C. § I 605A(a)(2)(A)(i)(I).

Second, Plaintiffs were U.S. nationals and/or members of the U.S. armed forces at the time of the

subject terror attacks. 28 U.S.C. § l 605A(a)(2)(A)(ii).

I.     Iran's Designation as a State Sponsor of Terrorism

       Federal "district courts" "have original jurisdiction" over "any nonjury civil action against

a foreign state" asse1iing "any claim for relief in personam with respect to which the foreign state

is not entitled to immunity." 28 U.S.C. § 1330(a). Under the Foreign Sovereign Immunity Act

("FSIA"), a foreign state is immune from the jurisdiction of American courts unless the case falls

within an express statutory exception. 28 U.S.C. § 1604; Kilburn v. Socialist People's Libyan Arab

Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004). The statutory exception applicable to this case


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    is the state-sponsored terrorism exception under 28 U.S.C. § 1605A, which "confers subject matter

 jurisdiction on federal courts to hear certain terrorism-related claims" and "recognizes a federal

    cause of action against those foreign states subject to the exception." Fritz v. Islamic Republic of

 Iran, 320 F. Supp. 3d 48, 75 (D.D.C. 2018). The state-sponsored terrorism exception is not

 applicable unless "the foreign state was designated a state sponsor of terrorism" both at the time

 of the terror attack giving rise to the civil claim and at the time the lawsuit was filed. 28 U.S.C. §

 1605A(a)(2)(A)(i)(I); Fritz, 320 F. Supp. 3d at 77. 1

           The terror attacks giving rise to Plaintiffs' civil claims occurred between the years 2003

and 2011. See Amended Complaint, ECF No. 10, Section VI. Iran was designated as a state sponsor

of terrorism in 1984. See "Determination Pursuant to Section 6(i) of the Expo1t Administration

Act of 1979-Iran," 49 Fed. Reg. 2,836 (Jan. 23, 1984). Iran has remained designated as a state

sponsor of terrorism to this day. See U.S. Dep't of State, State Sponsors of Terrorism, available at

https://www.state.gov/j/ct/list/c 14151.htm (last visited Mar. 11, 2022). See also Coombs v. Islamic

Republic of Iran, No. CV 19-3363 (RDM), 2022 WL 715189, at *15 (D.D.C. Mar. 10, 2022)

(finding that Iran has been a designated state sponsor of terrorism since 1984 and remains so to

this day); Anderson v. The Islamic Republic of Iran, 753 F. Supp. 2d 68, 76 (D.D.C. 2010) ("Iran

is a foreign state and has been designated a state sponsor of terrorism pursuant to section 69(j) of




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  Plaintiffs are required to prove additional elements to establish Defendants' liability. See Fritz v.
Islamic Republic ofIran, 320 F. Supp. 3d 48, 75-78 (D.D.C. 2018). Pursuant to Plaintiffs' proposed
case management the Comt adopted (ECF Nos. 74, 75), those additional elements will be proved
in later stages of this lawsuit. As set forth in the case management plan (ECF Nos. 74, 75), this
first stage is limited to establishing two elements: First, that Iran was a designated state sponsor of
terrorism at the time of the subject terror attacks and at the time the lawsuit was filed; and, second,
that Plaintiffs were U.S. nationals and/or members of the U.S. armed forces at the time of the
subject terror attacks.

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 the Export Administration Act of 1979, 50 U.S.C. § 24050), continuously since January 19,

 1984.").

         Based on the above-cited information from the Federal Register, Depatiment of State, and

 decisions from this Court, Iran's designation as a state sponsor of terrorism from 1984 to the

 present is a judicially noticeable fact under Fed.R.Evid. 201 because it "is not subject to reasonable

dispute" and "is generally known within the trial comi's territorial jurisdiction." See Va/ore v.

Islam;c RepubUc of Iran, 700 F. Supp. 2d 52, 59 (D.D.C. 2010) ("[A] comi clearly may judicially

notice its findings of facts and conclusions of law in related cases."); Coombs, 2022 WL 715189,

at *15 (relying on the same above-cited information from the Federal Register and Department of

State to find that Iran has been a designated state sponsor of terrorism from 1984 to the present

day). See also Rhnkus v. Islam;c RepubUc of Iran, 750 F. Supp. 2d 163, 171 (D.D.C. 2010)

("Because of the multiplicity of FSIA-related litigation in this jurisdiction, Comis in this District

have thus frequently taken judicial notice of earlier, related proceedings."); Mwphy v. Islam;c

RepubUc of Iran, 740 F. Supp. 2d 51, 59 (D.D.C. 2010) ("[T]he FSIA does not require this Comi

to relitigate issues that have already been settled in previous decisions ... Instead, the Court may

review evidence considered in an opinion that is judicially noticed, without necessitating the re-

presentment of such evidence."). This "longstanding designation of Iran as a state sponsor of

terrorism is sufficient to satisfy the designation requirement" under the FSIA. Coombs, 2022 WL

715189, at *15; 28 U.S.C. § 1605A(a)(2)(A)(i)(I).

        The state-sponsor terrorism designation is applicable to all six defendants in this case: The

Islamic Republic of Iran; Iranian Revolutionary Guard Corps (IRGC); Iranian Ministry of

Intelligence and Security (MOIS); Bank Markazi Jomhouri Islami Iran; Bank Melli Iran; and

National Iranian Oil Company (NIOC). As this Comi previously ruled, Iran, IRGC, and MOIS are



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 "foreign state[ s] or political subdivision[ s]"under§ l 608(a) while Bank Markazi, Bank Melli, and

 NIOC are "agenc[ies] or instrumentalit[ies] " of Iran under § 1608(6). ECF No. 55, pages 2- 3.

 Under the FSIA, the definition of "foreign state" includes the foreign state itself as well as "a

 political subdivision of a foreign state or an agency or instrumentality of a foreign state." 28 U.S.C.

 § l 603(a) . Consequently, the designation of Iran as a state sponsor of terrorism is sufficient to

 satisfy the designation requirement as to all defendants . See Fr;tz, 320 F. Supp. 3d at 77-78

 (" [B]ecause the IRGC is properly considered 'an integral part' of the ' foreign state' of Iran" and

" because § 1605A focuses on whether ' the foreign state ' was designated-and not whether each

named defendant was separately designated-the Comt concludes that the designation of Iran as

a state sponsor of terrorism is sufficient to satisfy the designation requirement as to both

defendants," Iran and the IRGC.); Braun v. Islam;c Repubhc of Iran, 228 F. Supp. 3d 64, 75 n. 3

(D.D.C. 2017) (holding that MOIS, a "political subdivision," "is also considered a foreign

sovereign for the purposes of this lawsuit under 28 U.S.C. § l 603(a)").

II.      Plaintiffs' Status as U.S. Nationals and/or Members of the U.S. Armed Forces

         A claim under the FSIA's state-sponsored terrorism exception also requires proof that the

claimant or victim was a U.S. national or a member of the U.S. armed forces at the time the act of

terrorism occurred. 28 U.S.C. § 1605A(a)(2)(A)(ii); FrUz, 320 F. Supp. 3d at 77. Given that

Defendants have defaulted (ECF No. 55), Plaintiffs' burden under the FSIA is to prove this element

with "evidence satisfactory to the comt. " 28 U.S.C . § 1608(e). See Fraenkel v. Islam;c Repubhc

of Iran, 892 F.3d 348,353 (D.C. Cir. 2018) ("To obtain a default judgment in a Section 1605A

action, plaintiffs have to establish a right to relief by providing 'evidence satisfactory to the

court. "').

         The FSIA "leaves it to the court to determine precisely how much and what kinds of

evidence the plaintiff must provide." Han K;m v. Democrat;c People's Repubhc of Korea, 774

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 F.3d 1044, 1047 (D.C. Cir. 2014). This affords a district court "an unusual degree of discretion

 over evidentiary rulings in a FSIA case against a defaulting state sponsor of terrorism." Owens v.

 Republic of Sudan , 864 F.3d 751 , 785 (D.C. Cir. 2017) . Indeed, "the quantum and quality of

 evidence that might satisfy a court can be less than that normally required." Abedini v. Gov't of

 Islamic Republic of Iran, 422 F . Supp. 3d 118, 128 (D.D.C. 2019). See Sotloff v. Syrian Arab

 Republic, 525 F. Supp. 3d 121 , 134 (D.D.C. 2021) ("In a FSIA default proceeding, a court can find

that the evidence presented is satisfactory when the plaintiff shows her claim has some factual

basis, even if she might not have prevailed in a contested proceeding."). This standard may be met

"through uncontroverted factual allegations" supported by documentary or affidavit evidence.

Valore v. Islamic Republic of Iran , 700 F.Supp.2d 52, 59 (D.D.C. 2010). A hearing is not

necessary, and a district court's decision will be affirmed so long as "there is an adequate basis in

the record for inferring that the district court" "was satisfied with the evidence submitted" in

suppo11 of the plaintiffs claims. Commercial Bank of Kuwait v. Rafidain Bank, 15 F.3d 238, 242

(2d Cir. 1994) ("[W]e do not believe that § 1608(e) requires evidentiary hearings or explicit

findings where the record shows that the plaintiff provided sufficient evidence in suppo11 of its

claims.").

       Proving the element under 28 U.S.C. § 1605A(a)(2)(A)(ii)-that the claimant or victim

was a U.S. national or a member of the U.S. armed forces at the time the act of terrorism occurred-

can be accomplished with various types of evidence. This includes declarations under 28 U.S.C. §

1746. See Force v. Islamic Republic of Iran, 464 F. Supp. 3d 323, 343 (D.D.C. 2020) (accepting

plaintiffs' declarations as evidence of citizenship). Moreover, electronically signed declarations

that contain the requisite language in 28 U.S.C. § 1746 are valid. See Stephenson v. Fam. Sols. of

Ohio, Inc., 2020 WL 6685301, at *5-6 (N.D. Ohio Nov. 12, 2020) ("electronically signed



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 declarations that contain the requisite language noted above are sufficient to comply with§ 1746");

 Hale v. Empo,•;a State Un;v., 2018 WL 5884543, at *2 (D. Kan. Nov. 9, 2018) (declaration with

 electronic signature complied with § 1746); Consumer F;nandal Protechon Bureau v. Un;versal

 Debt & PaymentSolutfons, LLC, 2019 WL 1295004 at* 11 (N.D. Ga. March 21, 2009) (same);

 w;ngate v. Gage County School D;st,•;ct, 2007 WL 2904094 at *l (D. Neb. 2007) (same); T;shcon

 Cmp. v. Soundv;ew Commc'ns, Inc., 2005 WL 6038743 at *3 (N.D. Ga. Feb. 15, 2005) (same).

        Other valid evidence of U.S. nationality includes birth records, death ce1tificates, marriage

licenses/ce1tificates, passports, and ce1tificates of naturalization. See Fed.R.Evid . 803(8) (allowing

the admission of public records); Id. at 803(9) (allowing the admission of"[a] record ofbi1th, death

or marriage"); UnUed States v. Clarke, 628 F. Supp. 2d 15, 21 (D.D.C. 2009) ("ce1tificates of

naturalization and passports are admissible as complete and conclusive evidence of citizenship");

M;/ler v. Albr;ght, 523 U.S. 420, 436 (1998) ("The blood relationship to the birth mother is

immediately obvious and is typically established by hospital records and birth ce1tificates.")

        Membership in the U.S. armed forced at the time of the subject attacks can be established

through military records, especially the authoritative military form known as DD-214. LaBonte v.

Un;ted States, 150 Fed. Cl. 552, 559 (2020) (noting that the "DD Form 214 ... is the authoritative

source of information required for the administration of State and Federal laws applicable to

personnel who have been discharged, released, or transferred to a Reserve Component while on

active duty" and fmther noting that the "document "provides an accurate and complete summation

of active military personnel service").

        The attached exhibits (Exhibits 1-490) are being proffered to the Court to establish

Plaintiffs ' status under 28 U.S.C. § l 605A(a)(2)(A)(ii). These exhibits consist of true and authentic

copies of Plaintiffs' military personnel records, marriage certificates, birth certificates, repo1ts of



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 bi1ihs abroad by citizens of the United States, death certificates, certificates of naturalization,

 ce1iificates of citizenship, passpotis, and sworn declarations setting fo1ih sufficient facts

 establishing their U.S. nationality and/or membership in the U.S. armed forces . See Paulos Dec.,

114, 9, 11-14.
        In addition, and to facilitate the Court' s review of these voluminous records, Plaintiffs

proffer as evidence the attached summary chart pursuant to Fed.R.Evid. 1006. This evidentiary

rule "allows a patiy to introduce a cha ti summarizing ' the contents of voluminous writings . .. which

cannot conveniently be examined in comi. "' United States v. Hemphill, 514 F.3d 1350, 1358 (D .C.

Cir. 2008) (quoting Fed.R.Evid. 1006). A summary chart pursuant to Fed.R.Evid. 1006 is

appropriate here because the number of exhibits (nearly 500) and the total number of exhibit pages

(nearly 2,000 pages) are voluminous . See 31 Fed . Prac. & Proc. Evid. § 8044 (2d ed.). (" [T]he

practical reality addressed by Rule 1006 is that court time and resources are always limited. "). The

accuracy, completeness, and authenticity of the summary chati are established by the attached

declaration of undersigned counsel. See Paulos Dec.,      11   16-17. Plaintiffs respectfully ask this

Court to exercise its discretion to admit the summary chati as evidence of their status under 28

U.S.C. § 1605A(a)(2)(A)(ii). See United States v. Tannehill, 49 F.3d 1049, 1056 (5th Cir. 1995)

("The district court did not abuse its discretion in admitting the summary charts, because the

requirements of Rule 1006 were satisfied. The documents summarized in the charts were

voluminous, and in-comi examination would have been more than inconvenient."); United States

v. Dunnican, 961 F.3d 859,873 (6th Cir. 2020) (" [T]he exhibit summaries were properly admitted"

under Rule 1006.).

       The attached summary chart identifies the following information for each plaintiff:

           •   Exhibit number;



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                •   Bates number(s) of the page(s) on which the documentary evidence can be found;

                •   Plaintiffs name;

                •   Date of the attack(s) giving rise to the plaintiffs claims;

            •       Section(s) of the Amended Complaint identifying the plaintiff;

            •       Status at the time of the attack (i.e., U.S. national or member of the armed forces);

                    and

            •       Type of evidence proffered.

III.    Conclusion

        For the foregoing reasons, as supported by the evidence submitted herewith, Plaintiffs

respectfully request an Order finding that:

            •       Plaintiffs have established the designation requirement under the state sponsor of

                    terrorism exception under 28 U.S.C. § 1605A(a)(2)(A)(i)(I) because Iran was a

                    designated state sponsor of terrorism at the time of the subject terror attacks and at

                    the time this lawsuit was filed; and

            •       Plaintiffs identified in the Fed.R.Evid. 1006 summary spreadsheet have proven

                    with evidence satisfactory to the Court the requirement under 28 U.S.C. §

                    1605A(a)(2)(A)(ii). 2




2
  Not every plaintiff named in the Amended Complaint has submitted proof under 28 U.S.C. §
1605A(a)(2)(A)(ii). Some plaintiffs no longer wish to participate in this lawsuit and have requested
to be dismissed; to that end, an amended complaint or notices of dismissal will be filed in due
course. Other plaintiffs have not yet provided counsel with documents necessary to establish their
standing; as a result, counsel is still attempting to obtain this information from these clients and
investigating the current status of the plaintiff to determine their ability or desire to fuiiher
patiicipate in this matter. Counsel will update the Court on these effo11s in the upcoming status
reports.

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 A proposed order consistent with the foregoing is attached .


Dated: March 15, 2021.




                                      Christopher G. Paulos
                                      District of Columbia Bar No. 1615782
                                      LEVIN, PAPANTONIO, THOMAS, MITCHELL,
                                      RAFFERTY AND PROCTOR, P.A.
                                      316 South Baylen Street, Suite 600
                                      Pensacola, Florida 32502
                                      Telephone: (850) 435-7067
                                      Facsimile: (850) 436-6067
                                      Email: cpaulos@levinlaw.com

                                      Counsel for Plaintiffs·




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                                CERTIFICATE OF SERVICE

       I hereby ce1iify that a copy of the foregoing has been served by electronic filing with the

Clerk via the CM/ECF system, which electronically notifies all registered participants.

       I declare under penalty of pe1jury that the foregoing is true and correct.

       Dated: March 15, 2022.                        Respectfully submitted,

                                                     Isl Chr;stopher G. Paulos
